Case 1:24-cv-20247-PCH Document 4 Entered on FLSD Docket 01/24/2024 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:24-cv-20247-PCH

 ARANTZA CASTRO,

        Plaintiff,
 v.

 IKEA NORTH AMERICA SERVICES LLC,
 a Foreign Limited Liability Company,
 d/b/a IKEA,

       Defendant.
 ______________________________________/

                     ORDER OF COURT-MANDATED REQUIREMENTS
                     IN AMERICANS WITH DISABILITIES ACT CASES

        This matter is before the Court sua sponte. Plaintiff’s claim arises out of an alleged
 violation of the Americans with Disabilities Act.        To assist with the orderly and efficient
 management of this case, it is
        ORDERED that within twenty-one days of this Order, Plaintiff shall (1) file a statement of
 claim consisting of two double-spaced pages in which Plaintiff shall summarize the alleged
 violation and the specific relief requested to cure the alleged violation; (2) serve Defendants with
 a copy of this Order, the statement of claim, and copies of all documents supporting the claim (e.g.,
 records and sworn affidavits); and (3) upon service of the previously mentioned documents, file a
 notice of compliance with the Court.
        It is further ORDERED that, within fourteen days of Plaintiff’s compliance with the
 previously mentioned requirements, Defendants shall file a response to Plaintiff’s statement of
 claim consisting of no more than two double-spaced pages and provide Plaintiff with copies of all
 documents supporting its defenses. Upon compliance with these requirements, Defendants shall
 file a notice of compliance with the Court.
        It is further ORDERED that, within twenty-one days of this Order, Plaintiff shall file a
 verified statement setting forth the following information:
        1.      Plaintiff’s counsel shall state whether Plaintiff’s counsel has conducted a search of
 case filings in the records of the Clerk of the United States District Court for the Southern District
Case 1:24-cv-20247-PCH Document 4 Entered on FLSD Docket 01/24/2024 Page 2 of 2




 of Florida to ascertain whether Defendants or Defendants’ property has ever been sued prior to the
 filing of this suit for alleged violations for the same, similar, or any violations of the ADA. If such
 a search was not made prior to filing suit, Plaintiff’s counsel shall conduct such a search of the
 records and file a notice with the Court indicating the results of the search.
         2.      If there has been a prior suit of the nature previously referenced, Plaintiff’s counsel
 shall state the present status of that litigation if pending and, if not pending, the nature of the
 disposition (i.e., settlement, dismissal, or other).
         3.      If there was such litigation and it was disposed of by settlement, Plaintiff’s counsel
 shall furnish to the Court specific details of the settlement, including any agreement for attorneys’
 fees and costs, either known to or ascertainable with reasonable inquiry by Plaintiff’s counsel.
 Copies of these documents shall be furnished with the response to this Order. Plaintiff’s counsel
 shall also inform the Court of whether Defendants (and/or property owned by Defendants and the
 subject matter of this suit) have complied with any settlement agreement and, if not, what actions
 Defendants must take to comply with the settlement agreement entered into in the prior litigation.
         4.      Plaintiff’s counsel shall state what efforts were taken by the parties to the prior
 litigation to enforce the terms of any settlement agreement entered into in any prior litigation.
 Namely, Plaintiff’s counsel shall indicate whether the property owner made any of the necessary
 repairs to the property to try to bring it into compliance with the ADA, and if not, what efforts the
 parties in the prior litigation have taken to enforce the settlement agreement entered into in that
 prior litigation.
         Failure to comply with this order may result in default, dismissal, or the imposition
 of sanctions.
         DONE and ORDERED in Miami, Florida, on January 24, 2024.




                                                ____________________________________
                                                Paul C. Huck
                                                United States District Judge
 Copies furnished to:
 Counsel of Record




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